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 5
     Attorney for Defendant STEVEN PROUT
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )             CASE NO. CR-F-04-5244 OWW
                                   )
12             Plaintiff,          )            STIPULATION TO CONTINUE
                                   )            SENTENCING HEARING,
13   vs.                           )            AND ORDER THEREON
                                   )
14   STEVEN PROUT et al.           )
                                   )
15                                 )
               Defendants.         )            DATE:          11/10/2008
16   ______________________________)            TIME:          1:30 p.m.
                                                JUDGE:         Oliver W. Wanger
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the sentencing hearing in the above entitled matter now set
21   for November 10, 2008, may be continued to January 26, 2009 at
22   1:30 p.m.
23           Good cause exists for the continuance based upon the need for
24   the U.S. Probation Office to prepare an amended presentence report
25   reflecting revised victim impact information recently provided by
26   the government.
27           The revised report shall be provided to defense counsel by
28   November 7, 2008, the defendant’s informal objections shall be


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 1   served on the government and probation by November 28, 2008, and
 2   the defendant’s formal objections shall be filed and served on the
 3   government and probation by December 19, 2008.
 4           The date of January 26, 2009, at 1:30 is agreeable to all
 5   attorneys.
 6
     DATED: November 4, 2008             FLETCHER & FOGDERUDE, Inc.
 7
 8                                       /s/ Eric K. Fogderude
                                         ERIC K. FOGDERUDE
 9                                       Attorney for Defendant,
                                         STEVEN PROUT
10
11
     Dated: October 30, 2008             McGREGOR W. SCOTT
12                                       United States Attorney
13                                       /s/ Stanley Boone
                                         STANLEY BOONE
14                                       Assistant US Attorney
15
                                          ORDER
16
17           IT IS SO ORDERED.    The court grants the stipulation that the
18   Sentencing hearing be continued to January 26, 2009, at 1:30 p.m.
19   IT IS SO ORDERED.
20
     DATED: November 5, 2008                    /s/ OLIVER W. WANGER
21                                              OLIVER W. WANGER, Judge
                                                United States District Court
22                                              Eastern District of California
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